Case 6:18-cv-00037-JA-KRS Document 42 Filed 03/09/18 Page 1 of 11 PageID 123




                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

                              CASE NO. 6:18-cv-00037-JA-KRS


  TAVIA WAGNER,

         Plaintiff,

  vs.

  GATOR RIVERWOOD, LLC, a
  Florida limited liability company;
  PNC BANK NA, a Delaware
  corporation d/b/a PNC Bank; DOLLAR
  TREE STORES, INC., a Virginia
  corporation d/b/a Dollar Tree Store
  #332; DAWN CHEN, an individual
  d/b/a Super Wok – Port Orange; and
  WINN DIXIE STORE, INC., a Florida
  corporation d/b/a Winn Dixie Store #2311,

         Defendants.
                                                /

   DEFENDANT, GATOR RIVERWOOD, LLC’S ANSWER AND AFFIRMATIVE
               DEFENSES TO PLAINTIFF’S COMPLAINT

         Defendant, Gator Riverwood, LLC (“Gator”), by and through undersigned counsel,

  hereby answers the Complaint filed by Plaintiff, Tavia Wagner (“Plaintiff”), and states:

         1.      Without acknowledging the existence of the remedies sought for Plaintiff’s

  entitlement to relief, Gator admits the Court has jurisdiction.

         2.      Gator is without sufficient knowledge to admit or deny the allegations in

  paragraph 2 of the Complaint, and demands strict proof thereof.




                                                1

                                        TOBIN & REYES, P.A.
  MIZNER PARK OFFICE TOWER • 225 N. E. MIZNER BOULEVARD, SUITE 510 • BOCA RATON, FLORIDA • 33432
Case 6:18-cv-00037-JA-KRS Document 42 Filed 03/09/18 Page 2 of 11 PageID 124




         3.      Gator is without sufficient knowledge to admit or deny the allegations in

  paragraph 3 of the Complaint, and demands strict proof thereof.

         4.      Gator is without sufficient knowledge to admit or deny the allegations in

  paragraph 4 of the Complaint, and demands strict proof thereof.

         5.      Gator admits that it is a Florida limited liability company who conducts

  business in the State of Florida. Gator further admits that it is the owner of the shopping

  center commonly known as the Riverwood Shopping Center which has a street address of

  3997-4031 S. Nova Road, Port Orange, FL 32127, but denies that it is the owner of the

  parcel presently occupied by Defendant, PNC Bank NA. Gator is without sufficient

  knowledge to admit or deny the remaining allegations in paragraph 5 of the Complaint, and

  demands strict proof thereof.

         6.      Gator is without sufficient knowledge to admit or deny the allegations in

  paragraph 6 of the Complaint, and demands strict proof thereof.

         7.      Paragraph 7 of the Complaint contains no factual allegations to which an

  answer is required. To the extent that an answer is required, Gator refers to the American’s

  With Disabilities Act, as amended, and denies Plaintiff’s characterization of the same.

         8.      Paragraph 8 of the Complaint contains no factual allegations to which an

  answer is required. To the extent that an answer is required, Gator refers to the American’s

  With Disabilities Act, as amended, and denies Plaintiff’s characterization of the same.

         9.      Paragraph 9 of the Complaint contains no factual allegations to which an

  answer is required. To the extent that an answer is required, Gator refers to the American’s

  With Disabilities Act, as amended, and denies Plaintiff’s characterization of the same.


                                                2

                                        TOBIN & REYES, P.A.
  MIZNER PARK OFFICE TOWER • 225 N. E. MIZNER BOULEVARD, SUITE 510 • BOCA RATON, FLORIDA • 33432
Case 6:18-cv-00037-JA-KRS Document 42 Filed 03/09/18 Page 3 of 11 PageID 125




         10.      Gator denies that the “Defendants are places of public accommodation.”

  Gator is without sufficient knowledge to admit or deny the remaining allegations in

  paragraph 10 of the Complaint, and demands strict proof thereof.

         11.      Gator denies that the building and/or Subject Facility is a public

  accommodation. Gator is without sufficient knowledge to admit or deny the remaining

  allegations in paragraph 11 of the Complaint, and demands strict proof thereof.

         12.      Gator is without sufficient knowledge to admit or deny the allegations in

  paragraph 12 of the Complaint, and demands strict proof thereof.

         13.      Denied.

         14.      Gator is without sufficient knowledge to admit or deny the allegations in

  paragraph 14 of the Complaint, and demands strict proof thereof.

         15.      Paragraph 15 of the Complaint contains no factual allegations to which an

  answer is required. To the extent that an answer is required, Gator refers to the American’s

  With Disabilities Act, as amended, and denies Plaintiff’s characterization of the same.

         16.      Gator denies Plaintiff’s allegation of discrimination. Gator is without

  sufficient knowledge to admit or deny the remaining allegations in paragraph 16 of the

  Complaint as Plaintiff has failed to provide an expert’s report purporting to identify any

  specific alleged barriers, and, upon information and belief, Plaintiff does not have such a

  report. Accordingly, Gator demands strict proof thereof.

         (a) Gator is without sufficient knowledge to admit or deny the allegations in

               paragraph 16(a) of the Complaint as Plaintiff has failed to provide an expert’s

               report purporting to identify any specific alleged barriers, and, upon


                                                3

                                        TOBIN & REYES, P.A.
  MIZNER PARK OFFICE TOWER • 225 N. E. MIZNER BOULEVARD, SUITE 510 • BOCA RATON, FLORIDA • 33432
Case 6:18-cv-00037-JA-KRS Document 42 Filed 03/09/18 Page 4 of 11 PageID 126




             information and belief, Plaintiff does not have such a report. Accordingly,

             Gator demands strict proof thereof.

         (b) Gator is without sufficient knowledge to admit or deny the allegations in

             paragraph 16(b) of the Complaint as Plaintiff has failed to provide an expert’s

             report purporting to identify any specific alleged barriers, and, upon

             information and belief, Plaintiff does not have such a report. Accordingly,

             Gator demands strict proof thereof.

         (c) Gator is without sufficient knowledge to admit or deny the allegations in

             paragraph 16(c) of the Complaint as Plaintiff has failed to provide an expert’s

             report purporting to identify any specific alleged barriers, and, upon

             information and belief, Plaintiff does not have such a report. Accordingly,

             Gator demands strict proof thereof.

         (d) Gator is without sufficient knowledge to admit or deny the allegations in

             paragraph 16(d) of the Complaint as Plaintiff has failed to provide an expert’s

             report purporting to identify any specific alleged barriers, and, upon

             information and belief, Plaintiff does not have such a report. Accordingly,

             Gator demands strict proof thereof.

         (e) Gator is without sufficient knowledge to admit or deny the allegations in

             paragraph 16(e) of the Complaint as Plaintiff has failed to provide an expert’s

             report purporting to identify any specific alleged barriers, and, upon

             information and belief, Plaintiff does not have such a report. Accordingly,

             Gator demands strict proof thereof.


                                                4

                                        TOBIN & REYES, P.A.
  MIZNER PARK OFFICE TOWER • 225 N. E. MIZNER BOULEVARD, SUITE 510 • BOCA RATON, FLORIDA • 33432
Case 6:18-cv-00037-JA-KRS Document 42 Filed 03/09/18 Page 5 of 11 PageID 127




         (f) Gator is without sufficient knowledge to admit or deny the allegations in

             paragraph 16(f) of the Complaint as Plaintiff has failed to provide an expert’s

             report purporting to identify any specific alleged barriers, and, upon

             information and belief, Plaintiff does not have such a report. Accordingly,

             Gator demands strict proof thereof.

         (g) Gator is without sufficient knowledge to admit or deny the allegations in

             paragraph 16(g) of the Complaint as Plaintiff has failed to provide an expert’s

             report purporting to identify any specific alleged barriers, and, upon

             information and belief, Plaintiff does not have such a report. Accordingly,

             Gator demands strict proof thereof.

         (h) Gator is without sufficient knowledge to admit or deny the allegations in

             paragraph 16(h) of the Complaint as Plaintiff has failed to provide an expert’s

             report purporting to identify any specific alleged barriers, and, upon

             information and belief, Plaintiff does not have such a report. Accordingly,

             Gator demands strict proof thereof.

         (i) Gator is without sufficient knowledge to admit or deny the allegations in

             paragraph 16(i) of the Complaint as Plaintiff has failed to provide an expert’s

             report purporting to identify any specific alleged barriers, and, upon

             information and belief, Plaintiff does not have such a report. Accordingly,

             Gator demands strict proof thereof.

         (j) Gator is without sufficient knowledge to admit or deny the allegations in

             paragraph 16(j) of the Complaint as Plaintiff has failed to provide an expert’s


                                                5

                                        TOBIN & REYES, P.A.
  MIZNER PARK OFFICE TOWER • 225 N. E. MIZNER BOULEVARD, SUITE 510 • BOCA RATON, FLORIDA • 33432
Case 6:18-cv-00037-JA-KRS Document 42 Filed 03/09/18 Page 6 of 11 PageID 128




             report purporting to identify any specific alleged barriers, and, upon

             information and belief, Plaintiff does not have such a report. Accordingly,

             Gator demands strict proof thereof.

         (k) Gator is without sufficient knowledge to admit or deny the allegations in

             paragraph 16(k) of the Complaint as Plaintiff has failed to provide an expert’s

             report purporting to identify any specific alleged barriers, and, upon

             information and belief, Plaintiff does not have such a report. Accordingly,

             Gator demands strict proof thereof.

         (l) Gator is without sufficient knowledge to admit or deny the allegations in

             paragraph 16(l) of the Complaint as Plaintiff has failed to provide an expert’s

             report purporting to identify any specific alleged barriers, and, upon

             information and belief, Plaintiff does not have such a report. Accordingly,

             Gator demands strict proof thereof.

         (m) Gator is without sufficient knowledge to admit or deny the allegations in

             paragraph 16(m) of the Complaint as Plaintiff has failed to provide an expert’s

             report purporting to identify any specific alleged barriers, and, upon

             information and belief, Plaintiff does not have such a report. Accordingly,

             Gator demands strict proof thereof.

         (n) Gator is without sufficient knowledge to admit or deny the allegations in

             paragraph 16(n) of the Complaint as Plaintiff has failed to provide an expert’s

             report purporting to identify any specific alleged barriers, and, upon




                                                6

                                        TOBIN & REYES, P.A.
  MIZNER PARK OFFICE TOWER • 225 N. E. MIZNER BOULEVARD, SUITE 510 • BOCA RATON, FLORIDA • 33432
Case 6:18-cv-00037-JA-KRS Document 42 Filed 03/09/18 Page 7 of 11 PageID 129




             information and belief, Plaintiff does not have such a report. Accordingly,

             Gator demands strict proof thereof.

         (o) Gator is without sufficient knowledge to admit or deny the allegations in

             paragraph 16(o) of the Complaint as Plaintiff has failed to provide an expert’s

             report purporting to identify any specific alleged barriers, and, upon

             information and belief, Plaintiff does not have such a report. Accordingly,

             Gator demands strict proof thereof.

         (p) Gator is without sufficient knowledge to admit or deny the allegations in

             paragraph 16(p) of the Complaint as Plaintiff has failed to provide an expert’s

             report purporting to identify any specific alleged barriers, and, upon

             information and belief, Plaintiff does not have such a report. Accordingly,

             Gator demands strict proof thereof.

         (q) Gator is without sufficient knowledge to admit or deny the allegations in

             paragraph 16(q) of the Complaint as Plaintiff has failed to provide an expert’s

             report purporting to identify any specific alleged barriers, and, upon

             information and belief, Plaintiff does not have such a report. Accordingly,

             Gator demands strict proof thereof.

         (r) Gator is without sufficient knowledge to admit or deny the allegations in

             paragraph 16(r) of the Complaint as Plaintiff has failed to provide an expert’s

             report purporting to identify any specific alleged barriers, and, upon

             information and belief, Plaintiff does not have such a report. Accordingly,

             Gator demands strict proof thereof.


                                                7

                                        TOBIN & REYES, P.A.
  MIZNER PARK OFFICE TOWER • 225 N. E. MIZNER BOULEVARD, SUITE 510 • BOCA RATON, FLORIDA • 33432
Case 6:18-cv-00037-JA-KRS Document 42 Filed 03/09/18 Page 8 of 11 PageID 130




          17.     Gator is without sufficient knowledge to admit or deny the allegations in

  paragraph 17 of the Complaint, and demands strict proof thereof.

          18.     Gator is without sufficient knowledge to admit or deny the allegations in

  paragraph 18 of the Complaint, and demands strict proof thereof.

          19.     Denied.

          20.     Gator is without sufficient knowledge to admit or deny the allegations in

  paragraph 20 of the Complaint, and demands strict proof thereof.

          21.     Without acknowledging the existence of the remedies sought or Plaintiff’s

  entitlement to relief, Gator admits the Court has authority to grant injunctive relief under

  the ADA. Gator specifically denies Plaintiff’s entitlement to any injunctive relief.

          22.     Any allegation in the Complaint not specifically admitted herein is denied.

                                      Affirmative Defenses

          23.     First Affirmative Defense. Gator asserts that to alter the subject premises to

  the extent requested by Plaintiff would constitute undue hardship including, but not limited

  to, significant difficulty and expense, and therefore all of the modifications sought by

  Plaintiff are not readily achievable.

          24.     Second Affirmative Defense. In paragraph 17 of his Complaint, Plaintiff

  acknowledges that the list of allegedly unlawful barriers set forth in paragraph 16 is

  purportedly not exhaustive.       To the extent that some or all of Plaintiff’s requested

  modifications are not readily achievable and/or are not technically feasible, Plaintiff fails

  to state a claim for injunctive relief.




                                                8

                                        TOBIN & REYES, P.A.
  MIZNER PARK OFFICE TOWER • 225 N. E. MIZNER BOULEVARD, SUITE 510 • BOCA RATON, FLORIDA • 33432
Case 6:18-cv-00037-JA-KRS Document 42 Filed 03/09/18 Page 9 of 11 PageID 131




          25.     Third Affirmative Defense. In paragraph 17 of his Complaint, Plaintiff

  acknowledges that the list of allegedly unlawful barriers set forth in paragraph 16 is

  purportedly not exhaustive. To the extent that Plaintiff lacks standing to raise at least some,

  if not all, of his claims of alleged violations of the ADA, this Court lacks subject matter

  jurisdiction.

          26.     Fourth Affirmative Defense. In paragraph 17 of his Complaint, Plaintiff

  acknowledges that the list of allegedly unlawful barriers set forth in paragraph 16 is

  purportedly not exhaustive. To the extent Plaintiff seeks the provision of auxiliary aids by

  and through this action, Gator asserts that such modifications would fundamentally alter

  the nature of the goods, services, facilities, privileged, advantages or accommodations.

          27.     Fifth Affirmative Defense. In paragraph 17 of his Complaint, Plaintiff

  acknowledges that the list of allegedly unlawful barriers set forth in paragraph 16 is

  purportedly not exhaustive. To the extent Plaintiff seeks the provision of auxiliary aids by

  and through this action, Gator asserts that all of some of such modifications would create

  a direct threat to the Plaintiff and/or to other third persons.

          28.     Sixth Affirmative Defense.          To the extent that Plaintiff irregularly,

  occasionally, and infrequently visited the subject premises and/or cannot prove any

  legitimate, concrete plans to use subject facility in the future, Gator asserts that Plaintiff

  lacks the requisite standing to bring the instant lawsuit for injunctive relief against Gator.

          29.     Seventh Affirmative Defense. Plaintiff lacks standing to seek relief for the

  removal of barriers not actually encountered and of which there was no notice at the time

  of the filing of this Complaint.


                                                  9

                                        TOBIN & REYES, P.A.
  MIZNER PARK OFFICE TOWER • 225 N. E. MIZNER BOULEVARD, SUITE 510 • BOCA RATON, FLORIDA • 33432
Case 6:18-cv-00037-JA-KRS Document 42 Filed 03/09/18 Page 10 of 11 PageID 132




           30.     Eighth Affirmative Defense. Plaintiff lacks standing to bring this action for

   relief against Gator in that Plaintiff has never patronized the Property and has no definite

   intention of patronizing the Property in the future. Plaintiff’s alleged desire to seek access

   to the Property is not for the purpose of using the Property or obtaining access to the goods

   and services therein, but solely for the purpose of determining compliance with the ADA.

   Therefore, Plaintiff’s Complaint should be dismissed pursuant to Rule 12(b)(1) of the Rules

   of Civil Procedure.

           31.     Ninth Affirmative Defense. Plaintiff lacks standing to bring an action for

   relief against Gator for purported discrimination and denial of access to goods and services,

   facilities or portions of the Property (a) to which Plaintiff did not seek access prior to filing

   of this action; (b) of which Plaintiff had no knowledge prior to commencement of this

   action; and (c) that are not related to Plaintiff’s disabilities.

           32.     Tenth Affirmative Defense. The Property that is the subject of this action

   and the barriers of which Plaintiff complains were built prior to the 1992 benchmark date

   for ADA regulation, the ADA does not require such facilities to adhere to the published

   regulations of the Department of Justice for new construction, as alleged by Plaintiff, but

   requires owners of public accommodation only to “remove architectural barriers, and

   communication barriers that are structural in nature, in existing facilities . . . where such

   removal is readily achievable.”

           33.     Eleventh Affirmative Defense. Alternatively, Gator has and intends to

   remove such barriers whose removal is readily achievable and was and is in the continuing

   process of removing same when this action was filed; and has sought to provide alternate


                                                   10

                                         TOBIN & REYES, P.A.
   MIZNER PARK OFFICE TOWER • 225 N. E. MIZNER BOULEVARD, SUITE 510 • BOCA RATON, FLORIDA • 33432
Case 6:18-cv-00037-JA-KRS Document 42 Filed 03/09/18 Page 11 of 11 PageID 133




   facilities or access for those that were not. If Gator successfully removes all barriers from

   its facilities prior to an alteration in the legal relationship between the Plaintiff and Gator,

   then the Plaintiff’s claims for attorneys’ fees and costs should be denied.

           34.     Twelfth Affirmative Defense.           If not compliant with the exact

   measurements of the ADA, the Property is compliant within allowable tolerances under the

   applicable building and ADA provisions.

           WHEREFORE, Defendant, Gator Riverwood, LLC, having fully answered the

   Complaint filed by Plaintiff, Tavia Wagner, moves this Court to dismiss the Complaint,

   with prejudice, together with attorneys’ fees and costs and any such other and further relief

   as this Court deems just and proper.

           WE HEREBY CERTIFY that on March 9, 2018, we electronically filed the

   foregoing with the Clerk of the Court by using the CM/ECF system which will send a

   notice of electronic filing to Joe M. Quick, Esq., Law Offices of Joe M. Quick, Esq.,

   Attorney for Plaintiff, 1224 S. Peninsula Drive, #604, Daytona Beach, Florida 32118 email:

   jmquickesq@gmail.com.

                                                   Respectfully submitted,

                                                    s/Carrie Stolzer Robinson
                                                   Ricardo A. Reyes, FBN 864053
                                                   Carrie Stolzer Robinson, FBN 0354030
                                                   TOBIN & REYES, P.A.
                                                   Attorneys for Gator Riverwood, LLC
                                                   Mizner Park Office Tower
                                                   225 N. E. Mizner Blvd., Suite 510
                                                   Boca Raton, Florida 33432
                                                   Phone: (561) 620-0656
                                                   Fax: (561) 620-0657
                                                   rar@tobinreyes.com
                                                   csrobinson@tobinreyes.com
                                                   eservice@tobinreyes.com

                                                  11

                                         TOBIN & REYES, P.A.
   MIZNER PARK OFFICE TOWER • 225 N. E. MIZNER BOULEVARD, SUITE 510 • BOCA RATON, FLORIDA • 33432
